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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           : CHAPTER 7
                                                 :
AMERICAN UNDERWRITING                            : CASE NO. 18-58406-SMS
SERVICES, LLC,                                   :
                                                 :
         Debtor.                                 :

                                CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) by first
class U.S. Mail, with adequate postage prepaid, on the persons or entities at the addresses stated
on the attached Exhibit “A”.

         This 30th day of September, 2021.

                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
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                                Exhibit “A”
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Anna Mari Humnicky                          Synovus Bank                            Custom INS Division
Small Herrin, LLP                           PO Box 120                              404 E Ramsey Suite 210
Building Two, Suite 200                     Columbus, GA 31902-0120                 San Antonio, TX 78216-4667
2727 Paces Ferry Road
Atlanta, GA 30339-4053
Dakota Street Insurance                     Mass Insurance Agency                   Leslie M. Pineyro
PO Box 202                                  7300 F Street                           Jones and Walden, LLC
Spring Valley, IL 61362-0202                Omaha, NE 68127-1812                    699 Piedmont Avenue NE
                                                                                    Atlanta, GA 30308-1400


AmeriComp Benefits, Inc.                    The Hays Group, Inc.                    MJ Insurance
P.O. Box 4319                               Lorie E. Klein                          4745 Haven Point BLVD
Columbus, GA 31914-0319                     Fafinski Mark & Johnson, P.A.           Indianapolis, IN 46280-2818
                                            775 Prairie Ctr Dr, Ste 400
                                            Eden Prairie, MN 55344-7322
MGA Insurers, Inc                           Lighthouse Insurance Group              AAA Truck Agency Corp
207 S. Villa Avenue                         4808 Broadmoor SE                       25303 IH 45 N The Woodlands
Villa Park, IL 60181-2634                   Grand Rapids, MI 49512-5306             Spring, TX 77380-3534



Cobb County Tax Commissioner                American Southern Insurance Companies   Gregory M. Taube
P.O. Box 100127                             3715 Northside Parkway                  Nelson Mullins Riley & Scarborough
Marietta, GA 30061-7027                     Building 400, Su                        Suite 1700
                                            Atlanta, GA 30327-2886                  201 17th Street NW
                                                                                    Atlanta, GA 30363-1099
Professional Safety Consultants             Internal Revenue Service                Jones Truck Insurance Agency, Inc
221 Victory Lane Suite 100                  Central Insolvency Operations           10100 Saddle Creek Rd
Lincoln, NE 68528-1482                      PO Box 7346                             Waco, TX 76708-7290
                                            Philadelphia, PA 19101-7346


Tyser&Co Ltd on behalf of certain under     A to Z Insurance Group, Inc             Farit Logistics LLC
Simon Palmer                                5959 S Staples Ste 102                  2910 Pillsbury Ave S. Suite 214
9th Floor Beaufort House                    Corpus Christi, TX 78413-3844           Minneapolis, MN 55408-2298
15 St. Botolph
London EC3A 7EE, UK
Impact Finance Corp                         American Underwriting Services, LLC     Gary W. Marsh
P.O. Box 515439                             1255 Roberts Blvd.                      Dentons US, LLP
Dallas, TX 75251-5439                       Suite 102                               Ste 5300, One Peachtree Center
                                            Kennesaw, GA 30144-7078                 303 Peachtree Street NE
                                                                                    Atlanta, GA 30308-3201
Bancorp South Insurance Services, Inc.      Lorie A. Klein                          Kevin Van de Grift
8315 Cantrell Road Suite 300                c/o Fafinski Mark & Johnson, P.A.       GGG Partners, LLC
Little Rock, AR 72227-2357                  775 Prairie Center Drive                3155 Roswell Road
                                            Ste 400                                 Ste 120
                                            Eden Prairie, MN 55344-7322             Atlanta, GA 30305-1836
Allnations Insurance Agency                 Commercial Insurance Solutions          MacKenzie Agency
2537 S Gessner Ste 110                      P.O. Box 6310                           116 South Third Street
Houston, TX 77063-2026                      East Brunswick, NJ 08816-6310           Saint Peter, MN 56082-2043
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Sebrite Agency, Inc.                    ProSight Specility Mgt. Co.,          Insurance Company of North America
5421 Feltl Road Suite 140               and New York Ma                       c/o Wendy M. Simkulak
Hopkins, MN 55343-3945                  c/o Gary Marsh, Denton US, LLP        Duane Morris LLP
                                        303 Peachtree St, NE, Ste 5300        30 S. 17th Street
                                        Atlanta, GA 30308-3265                Philadelphia, PA 19103-4196
Mailing Systems of Georgia              FleetSeek                             Turner & Hamrick
1710 Cumberland Point Drive             6190 Powers Ferry Road                P.O. Box 985
Suite 7                                 Atlanta, GA 30339-2965                Troy, AL 36081-0985
Marietta, GA 30067-9203


ACE Westchester Specialty Grp           Jeffrey C. Mateer                     KHD LLC Insurance Services
5505 N. Cumberland Ave.                 First Assistant Attorney General      1259 Route 46 East
Suite 307                               Bankruptcy & Collections Div MC 008   Building One, Suite 125
Chicago, IL 60656-4761                  P. O. Box 12548                       Parsippany, NJ 07054-4917
                                        Austin, TX 78711-2548
A. Christian Wilson, Esq.               Hays of Utah Insurance Services       Marquee Insurance Group
Simpson, Uchitel & Wilson LLP           170 South Main Street                 1000 Holcomb Woods Pkwy
P.O. Box 550105                         Suite 1000                            Building 300 -
Atlanta, GA 30355-2605                  Salt Lake City, UT 84101-1653         Roswell, GA 30076-2587


USI Southwest                           Commerical Insurance Services         Insurance of Mid Cities Agency
1340 W. Tunnel Blvd, Suite 110          PO DRAWER 26227                       1235 Cavender Dr #101
Houma, LA 70360-2816                    Oklahoma City, OK 73126               Hust, TX 76053-4445



Ken Paxton                              American Southern Insurance Company   Intervalley Insurance Services
Attorney General of Texas               Morris, Manning & Martin, LLP         4221 N Fresno Street
Bankruptcy & Collections Div MC 008     c/o Lisa Wolgast, Esq                 Fresno, CA 93726-3130
P. O. Box 12548                         3343 Peachtree Rd NE Ste 1600
Austin, TX 78711-2548                   Atlanta, GA 30326-1044
Federal Insurance Company               Acadia Coffee Service, Inc.           The Wiley Group, Inc.
c/o Wendy M. Simkulak                   1165 Allgood Road suite 17            1255 Roberts Blvd.
Duane Morris LLP                        Marietta, GA 30062-2256               Suite 102
30 S. 17th Street                                                             Kennesaw, GA 30144-7078
Philadelphia, PA 19103-4196
Commerical Carriers                     Hawk Agency Inc                       Orbis Insurance
12641 166th Street                      7131 Knoxville Ave                    5800 NW 74th Ave
Cerritos, CA 90703-2135                 Peoria, IL 61614-2098                 Miami, FL 33166-3740



Illinois National Insurance Company     Schoolar & Associates                 CO Brown Agency Inc
AIG Property Casualty, Inc.             P.O. Box 967                          2048 Superior Drive NW
Attn: Kevin J Larner                    Jemison, AL 35085-0967                Rochester, MN 55901-5028
80 Pine Street, 13th Floor
New York, NY 10005-1734
Insurance Brokers of Maryland-          CIT                                   AFCO Credit Corporation
PO Box 3767                             21146 Network Place                   5600 North River Road
Hagerstown, MD 21742-3767               Chicago, IL 60673-1211                Rosemont, IL 60018-5187
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Florida Commercial Ins Inc        Georgia Departmne of Revenue          Jagdeep Singh Insurance Agency
1401 SW 21st Lane                 COMPLIANCE DIVISION                   4185 W Figarden Dr #101
Boca Raton, FL 33486-6525         ARCS BANKRUPTCY                       Fresno, CA 93722-6070
                                  1800 Century Blvd., Ste 9100
                                  ATLANTA, GA 30345-3202
Benjamin S. Klehr                 Cen-Cal Transportation Ins            Seneca Crum Forster Insurance Company
Small Herrin, LLP                 2351 Sunset Blvd. Ste #314            c/o Soffer, Rech and Borg LLP
Building Two, Suite 200           Rocklin, CA 95765-4338                26th Floor
2727 Paces Ferry Road                                                   48 Wall Street
Atlanta, GA 30339-4053                                                  New York, NY 10005-2900
Generazio Associates, Inc.        Executive Risk Indemnity Inc.         Daniel M. McDermott
265 Broad Street                  c/o Wendy M. Simkulak                 United States Trustee
Bloomfield, NJ 07003-2764         Duane Morris LLP                      362 Richard Russell Bldg
                                  30 S. 17th Street                     75 Ted Turner Drive, S.W
                                  Philadelphia, PA 19103-4196           Atlanta, GA 30303-3315
WNC, LLC                          All Solutions Insurance Agency, LLC   Haymond Insurance Inc.
1205 Johnson Ferry Rd             22364 Alessandro Blvd                 200 S. Main
St 136-318                        Moreno Valley, CA 92553-8301          Searcy, AR 72143-6847
Marietta, GA 30068-5418


Bylsma-Nederveld Agency, Inc.     Eastern Insurors, LLC                 J. Smith Lanier
4808 Broadmoor Avenue SE          445 Godwin Avenue                     P.O. Box 70
Grand Rapids, MI 49512-5306       Midland Park, NJ 07432-1978           West Point, GA 31833-0070



Thomas Reuters GRC Inc.           US Insurance Source                   Martin & Harrill, Inc.
c/o Sarah E. Doerr, Esq.          22327 Gosling Road                    221 W. Eleventh Street
Moss and Barnett                  Spring, TX 77389-4409                 Charlotte, NC 28202-1715
150 5th St S, Suite 1200
Minneapolis, MN 55402-4129
Allsure Insurance                 Good’s Insurance                      Fleet Risk Management, Inc.
1722 Prairie Grove Dr             352 E Main St, Ste 200                2485 Demere Rd., Suite 100
Houston, TX 77077-5020            Leola, PA 17540-1961                  Saint Simons Island, GA 31522-1621



ECBM                              Fisher & Phillips LLP                 Easy Truck Insurance
300 Conshohocken Ste 405          1075 Peachtree Street, NE             7635 Clement Rd Ste A
West Conshohocken, PA 19428       Suite 3500                            Vacaville, CA 95688-9297
                                  Atlanta, GA 30309-3900


Insgroup Inc.                     Keuler Insurance Agency Inc           TX Comptroller of Public Accts
3131 W Alabama Ste 200            229 High St                           REVENUE ACCOUNTING DIV -
Houston, TX 77098-2030            Mineral Point, WI 53565-1209          BANKRUPTCY SECT
                                                                        PO BOX 13528
                                                                        AUSTIN, TX 78711-3528
First Services Inc                Higginbotham                          Great Northern Insurance Company
215 Estates Dr Ste 1              308 W Parkwood Ave #104B              /o Wendy M. Simkulak
Roseville, CA 95678-2361          Friendswood, TX 77546-5478            Duane Morris LLP
                                                                        30 S. 17th Street
                                                                        Philadelphia, PA 19103-4196
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Southern Insurance Specialist       Equify Risk Services LLC              Fortenberry Insurance Agency
PO BOX 2116                         777 Main Street, Suite 3900           P.O. Box 2139
Ridgeland, MS 39158-2116            Fort Worth, TX 76102-5343             Hewitt, TX 76643-2139



US Premium Finance                  Centerpoint                           American Inter-Fidelity Exchange
280 Technology Parkway              11285 Elkins Road, Bldg E             9223 Broadway
Norcross, GA 30092                  Roswell, GA 30076-1259                Suite A
                                                                          Merrillville, IN 46410-6362


Interstate Truckers Insurance       Hub International Texas               Premium Assignment Corp
P.O. Box 8394                       12175 Network Blvd. Suite 100         3522 Thomasville Road
Boise, ID 83707-2394                San Antonio, TX 78249-3432            Suite 400
                                                                          Tallahassee, FL 32309-3488


BankDirect Capital Finance, LLC     Italiano Insurance Services           Keisling Insurance
P.O. Box 660448                     PO Box 18425                          8500 Highway 111 Ste 150
Dallas, TX 75266-0448               Tampa, FL 33679-8425                  Byrdstown, TN 38549-1007



Big Rigs Insurance                  INSPRO Insurance                      Delaware Secretary of State
14510 Vaughn Rd                     P.O. Box 6847                         Division of Corporations
Molalla, OR 97038-9445              Lincoln, NE 68506-0847                P O Box 5509
                                                                          Bingham, NY 13902-5509


Rich Insruance Services Inc.        Warrington Network Consultants, LLC   Commercial Transportation Ins Serv
c/o Rich Insurance                  Ste 136-318                           6520 44th Street #300
105 South 3rd Street                1205 Johnson Ferry Rd.                Sacramento, CA 95823-1266
Cabot, AR 72023-2931                Marietta, GA 30068-5418


NFP Property & Casualty             C. Ferguson Insurance                 J. Ronald Jones, Jr., Esquire
1050 Wigwam Pkwy. #110              P.O. Box 1855                         Nexsen Pruet, LLC
Henderson, NV 89074-8174            Valley Springs, CA 95252-1855         205 King Street, Suite 400 (29401)
                                                                          PO Box 486
                                                                          Charleston, SC 29402-0486
Cypress Premium Funding             All-Wheels Insurance Services         Scott B. Riddle
28202 Cabot Rd., Suite 435          1001 Cypress Creek Road               Law Office of Scott B. Riddle
Laguna Niguel, CA 92677-1249        Ste403                                Suite 1800
                                    Cedar Park, TX 78613-4470             3340 Peachtree Road, NE
                                                                          Atlanta, GA 30326-1064
ABCO Premium Finance                Davis Insurance Agency                Brower Insurance Agency, LLC
PO BOX 141029                       PO BOX 152620                         409 East Monument Ave
Coral Gables, FL 33114-1029         Lufkin, TX 75915-2620                 STE 400
                                                                          Dayton, OH 45402-1482


Hinson Building Corporation         Georgia Department of Insurance       Global Associates
540 48th Street Court East          Premium Tax Division                  20 Highland Ave
Bradenton, FL 34208-5508            P O Box 935134                        Metuchen, NJ 08840-1949
                                    Hapeville, GA 30354
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Compass Insurance Agency             Interstate Trucking Alliance          Insurance Group Services, Inc.
PO Box 530350                        7414 Fossil Hill Dr                   3000 W. Cypress Creek Rd
Birmingham, AL 35253-0350            Arlington, TX 76002-4451              Fort Lauderdale, FL 33309-1710



Donald LaPenna Associates            Farris Evans Insurance                FP Mailing Solutions
PO BOX 1868                          1568 Union Avenue                     140 N Mitchell Court, ste 200
Cranford, NJ 07016-5868              Memphis, TN 38104-3700                Addison, IL 60101-5629



INTERNAL REVENUE SERVICE             OVIA Insurance Services               West Virginia Ins Commisioner
P O BOX 7346                         1809 Banks Road                       PO Box 2153
2970 MARKET STREET                   Pompano Beach, FL 33063-7702          Charleston, WV 25328-2153
PHILADELPHIA, PA 19104-5002


FDI Management Group                 Grace Group, Inc.                     Los Robles
275 Cumberland Pkwy Ste 246          17709 Cantrell Road                   2930 E Inland Empire Blvd., St
Mechanicsburg, PA 17055-5677         Little Rock, AR 72223-4684            Ontario, CA 91764-4802



Lloyds of London/Tysers              Kirby Soar Insurance Agency           Cottingham & Butler
9th Floor Beaufort House             809 S. Evers Street                   P.O. Box 28
15 St Botolph Street                 Plant City, FL 33563-5425             Dubuque, IA 52004-0028
London, England, EC3A 7EE


Jeffers Insurance Agency             Windham Brannon, PC                   Chubb & Son, Inc.
100 NE Loop 410, Ste #1250           3630 Peachtree Road NE                5505 N Cumberland Ave
San Antonio, TX 78216-4722           Suite 600                             Ste 301
                                     Atlanta, GA 30326-1550                Chicago, IL 60656-4762


Brit UW Limited                      Meridian Insurance Group              T.I.S. Ltd.
J. Ronald Jones, Jr. Esq.            4555 Mansell Road Suite 250           PO Box 740
Nexsen Pruet, LLC                    Alpharetta, GA 30022-8279             Weyauwega, WI 54983-0740
PO Box 486
Charleston, SC 29402-0486
Ellington Insurance Inc              Krist Insurance                       De Lage Landen Financial Svcs
121 S Green St                       6600 Westown Pkwy., Suite 250         P.O. Box 41601
Swainsboro, GA 30401-3129            West Des Moines, IA 50266-7743        Philadelphia, PA 19101-1601



IPFS Corporation                     Ronald R. Del Vento                   Cobb County Tax Commissioner
Lisa R. Chandler                     Asst Attorney General Chief Bkrcy     700 South Cobb Drive
Suite 501                            Bankruptcy & Collections Div MC 008   Marietta, GA 30060-3162
30 Montgomery Street                 P. O. Box 12548
Jersey City, NJ 07302-3821           Austin, TX 78711-2548
Insurica Ins. Management Network     ACE American Insurance Company        Matthew G. Moffett
1100 NE Loop 410 Ste 200             c/o Wendy M. Simkulak                 Gray,Rust,St Amand,Moffett&Brieske
San Antonio, TX 78209-1569           Duane Morris LLP                      1700 Atlanta Plaza
                                     30 S. 17th Street                     950 East Paces Ferry Rd NE
                                     Philadelphia, PA 19103-4196           Atlanta, GA 30326-1180
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LLC Insurance Agency                      Chubb Custom Insurance Company       Reliance Partners
4216 N Lincoln Ave                        c/o Wendy M. Simkulak                325 Market Street Suite 205
Chicago, IL 60618-2902                    Duane Morris LLP                     Chattanooga, TN 37402-1226
                                          30 S. 17th Street
                                          Philadelphia, PA 19103-4196
U.S. Premium Finance                      County Wide Insurance                Com-Co Insurance Agency
280 Technology Parkway                    130 East Stoddard                    3425 Dempster St
Suite 200                                 Dexter, MO 63841-1764                Skokie, IL 60076-2441
Norcross, GA 30092


Interstate Motor Carriers Agency, Inc     Insurance Office of America - MD     Frontier Truck Insurance
PO Box 4500                               100 West Road, Suite 300             6054 Tanana Drive
Freehold, NJ 07728-4500                   Towson, MD 21204-2370                Carmel, IN 46033-8542



DMB Truck Insurance LLC                   TRICOR Inc                           Milner, Inc.
PO Box 6423                               230 W Cherry Street                  P.O. Box 923197
McKinney, TX 75071-5111                   Lancaster, WI 53813-1629             Norcross, GA 30010-3197



Hire Right Solutions                      Centex Transportation Ins. Svc       Kunkel & Associates
P O Box 847891                            2351 Sunset Blvd. Ste. 314           401 Data Court
Dallas, TX 75284-7891                     Rocklin, CA 95765-4338               Dubuque, IA 52003-8912



Hubbard Insurance Agency, Inc             New York Marine and General Ins Co   Jason A. Starks
4574 FM 1960 East                         c/o Gary Marsh, Dentons US, LLP      Office of the Atty General of TX
Humble, TX 77346-2418                     303 Peachtree Street, NE             Bankruptcy & Collections Div MC 008
                                          Suite 5300                           P.O. Box 12548
                                          Atlanta, GA 30308-3265               Austin, TX 78711-2548
Office of the United States Trustee       True North Companies                 Canal Insurance Company
362 Richard Russell Building              500 1st St. SE                       400 East Stone Avenue
75 Ted Turner Dr., SW                     Cedar Rapids, IA 52401-2002          Greenville, SC 29601-1618
Atlanta, GA 30303-3315


Craig C Hansen Insurance Servi            Katy Insurance Agency, Inc.          Pacific Employers Insurance Company
2103 3rd Street                           P O Box 597                          c/o Wendy M. Simkulak
Eureka, CA 95501-0813                     Katy, TX 77492-0597                  Duane Morris LLP
                                                                               30 S. 17th Street
                                                                               Philadelphia, PA 19103-4196
Don-Rick Insurance Inc                    Desert West Insurance Agency Inc     Executive Risk Specialty Insurance Co
313 Oak Street                            PO Box 640210                        c/o Wendy M. Simkulak
Baraboo, WI 53913                         El Paso, TX 79904-0210               Duane Morris LLP
                                                                               30 S. 17th Street
                                                                               Philadelphia, PA 19103-4196
Garrett A. Nail                           Crum & Forster Insurance Co.         TC Insurance Services
Thompson Hine, LLP                        305 Madison Avenue                   1050 Wigwam Pkwy, Suite 110
Suite 1600, Two Alliance Center           Morristown, NJ 07960-6100            Henderson, NV 89074-8174
3560 Lenox Road
Atlanta, GA 30326-4274
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Transport Services Group, LLC          Express Premium Finance Co.              Liberty Truck Insurance
3940 Werrington Drive                  PO Box 18836                             401 Daniel Payne Drive
Cumming, GA 30040-1522                 Oklahoma City, OK 73154-0836             Birmingham, AL 35214-6401



Chubb National Insurance Company       HNI Truck Group                          Georgia Department of Revenue
c/o Wendy M. Simkulak                  1621 Colonial Parkway                    1800 Century Blvd.
Duane Morris LLP                       Inverness, IL 60067-4732                 Suite 9100
30 S. 17th Street                                                               Atlanta, GA 30345
Philadelphia, PA 19103-4196
Georgia Department of Revenue          Texas Comptroller of Public Accounts     Hartley Cylke Pacific Insurance
P.O. Box 105499                        c/o Office of the Attorney General       2747 University Ave
Atlanta, GA 30348-5499                 Bankruptcy & Collections Div MC 008      San Diego, CA 92104-2811
                                       P. O. Box 12548
                                       Austin, TX 78711-2548
Interstate Insurance Services Inc.     American Internat’l Companies            Georgia Department of Labor
6101 N Armstrong St.                   P.O. Box 30174                           P.O. Box 200366
Wichita, KS 67204-2023                 New York, NY 10087-0174                  Cartersville, GA 30120-9007



Massachusetts Mutual Life Ins          Kenneth Bradley Franklin                 Lonesource
Dept #2560                             Duane Morris LLP                         114 MacKenan Drive Suite 300
Los Angeles, CA 90084-2560             Suite 1700                               Cary, NC 27511-7920
                                       1075 Peachtree Street NE
                                       Atlanta, GA 30309-3929
The Hilb Group of Texas, LLC           Triumph Insurance Group, Inc             HUB Internat’al Transportation
8720 Stony Point Parkway               12700 Park Central Dr                    P.O. Box 1000
Suite 125                              Suite 1700                               Colchester, VT 05446-1000
Richmond, VA 23235-1990                Dallas, TX 75251-1517


Risk Placement Services, Inc.          Cal-Valley Insurance Services Inc        IBEX
2400 Lakeview Parkway, Ste 675         5070 N. Sixth Street Suite 155           PO Box 224528
Alpharetta, GA 30009-7902              Fresno, CA 93710-7508                    Dallas, TX 75222-4528



Logistics Insurance Concepts           Menard, Gates, and Mathis                Liberty Insurance Serviesz, Inc
1527 W. State Hwy 114                  6401 Poplar Ave Ste 250                  3601 W. Devon Ave Suite 103
Ste 500-299                            Memphis, TN 38119-4846                   Chicago, IL 60659-1216
Grapevine, TX 76051-8646


SC&F Specialty Underwriters            Prosight Specialty Management Coy Inc.   Jane R. Parker
160 Water Street                       c/o Gary W. Marsh, Esq.                  204 Kier Street
16th Floor                             Dentons US LLP                           New Alexandria, PA 15670-3130
New York, NY 10038-5032                303 Peachtree St, NE, Ste 5300
                                       Atlanta, GA 30308-3265
Hunt & Associates, Inc.                AIG                                      LCIA INC
720 North Post Oak Suite 330           1200 Abernathy Rd Bldg 600               PO BOX 3043
Houston, TX 77024-3841                 Suite 800                                Kearny, NJ 07032-0998
                                       Atlanta, GA 30328-5691
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Illinois Union Insurance Company     Heiser Agency                         Troutman Sanders LLP
c/o Duane Morris LLP                 133 S Main Street                     P.O. Box 933652
ATTN: Wendy M. Simkulak              Morton, IL 61550-2077                 Atlanta, GA 31193-3652
30 S. 17th Street
Philadelphia, PA 19103-4196
U. S. Attorney                       Maverick Truck Insurance              Flat Iron Capital
600 Richard B. Russell Bldg.         5840 West I20 Suite #201              950 17th St Suite 1300
75 Ted Turner Drive, SW              Arlington, TX 76017                   Denver, CO 80202-2818
Atlanta, GA 30303-3315


Colonial Insurance Services, LLC     Cottingham & Butler                   Department of State
Leslie Pineyro                       800 Main Street PO Box 28             P.O. Box 1500
699 Piedmont Ave NE                  Dubuque, IA 52004-0028                Tallahassee, FL 32302-1500
Atlanta, GA 30308


Securance Corporation Agency         Supportive Insurance Services         James Brummett Insurance
P.O. Box 420390                      1610 South Old Decker Road            PO Box 606
Houston, TX 77242-0390               Vincennes, IN 47591-6127              Oliver Springs, TN 37840-0606



Palomar Insurance                    PJC Insurance                         A.I.Credit Corporation
P.O. Box 11128                       P.O. Box 9750                         P.O. Box 9045
Montgomery, AL 36111-0128            Springfield, MO 65801-9750            New York, NY 10087-9045



BankDirect Capital Finance           Capital Premium Finance               JLP Insurance Services, LLC
Two Conway Park                      PO Box 1020                           3719 Fry Rd. Suite C
150 North Field Drive S              Draper, UT 84020-1007                 Katy, TX 77449-6740
Lake Forest, IL 60045


Florida State Underwriters           Texas Dept of Insurance               CIT Bank NA
950 S. Winter Park Drive             Attn: Co Licensing and Reg Off        PO Box 593007
Suite 310                            DIV 5056                              San Antonio, TX 78259-0200
Casselberry, FL 32707-5460           Austin, TX 78714-9104


Rodriguez Insurance Agency           Professional Safety Consulting, Inc   TWI Agency Inc
901 Waterfall Way                    PO Box 274                            600 S Tyler St
Suite 301                            Kimberling City, MO 65686-0274        Amarillo, TX 79101-2353
Richardson, TX 75080-6792


Interstate Insurance Agency          Matrix Insurance Group                Demoisey Insurance Agency
PO Box 568944                        Suite 104                             258 Plaza Drive
Orlando, FL 32856-8944               Aventura, FL 33180                    Lexington, KY 40503-1945



U.S. E&O Brokers                     Goodman-Baker Insurance               Lenhardt Agency, Inc.
820 Gessner Road, Suite 1360         3534 E Sunshine Ste Ste H             Suite 211
Houston, TX 77024-4461               Springfield, MO 65809-2815            Billings, MT 59102
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D & H Insurance Group                      Avina’s Insurance Services             Willcomply, LLC
914 Judson Rd                              1110 Artesia Blvd Ste. A               3700 Park East Drive, Suite 250
Longview, TX 75601-5113                    Cerritos, CA 90703                     Beachwood, OH 44122-4318



First Niagra Risk Management               IMAN Carriers, Inc.                    Keystone Truck Underwriters, LLC
125 Hillvue Lane                           544 8th Ave NE                         702 W. Pitt Street PO Box 640
Pittsburgh, PA 15237-7317                  St. Joseph, MN 56374-8528              Bedford, PA 15522-0640



Westchester Surplus Lines Insurance Co     Texas Comptroller of Public Accounts   Florida Department of State
c/o Wendy M. Simkulak                      Texas Surplus Lines Department         P.O. Box 6327
Duane Morris LLP                           PO Box 13528                           Tallahassee, FL 32314-6327
30 S. 17th Street                          Austin, TX 78711-3528
Philadelphia, PA 19103-4196
Comcast                                    Eiyida Solutions                       TRINITY INSURANCE SERVICES
P O Box 530098                             16W277 83rd Street Ste C               LLC
Atlanta, GA 30353-0098                     Burr Ridge, IL 60527-7951              623 W MAIN ST
                                                                                  CLARKSON, KY 42726-7044


Affiance Insurance Agency                  Sunbelt Insurance Group                Fino Services LLC
PO Box 1306                                114 Lee Pkwy Drive                     6193 Highway Boulevard #205
Buda, TX 78610-1306                        Chattanooga, TN 37421-1736             Katy, TX 77494-1131



James Russell Wiley                        B&D Insurance Services                 Heil and Heil Insurance Agency LLC
6201 Arnall Ct.                            12118 Walnut Park Crossing #1317       1250 E Diehl Rd Ste 104
Acworth, GA 30101-9506                     Austin, TX 78753-6730                  Naperville, IL 60563-9338



AFS/ Ibex                                  L Transportation Writers, Inc.         Taylor L. Davis
PO Box 224528                              405 Oakwood Road 2nd Floor             Clyde & Co US LLP
Dallas, TX 75222-4528                      Huntington Station, NY 11746-7207      271 17th Street NW
                                                                                  Suite 1720
                                                                                  Atlanta, GA 30363-6202
Texas Comptroller of Public Accounts       Triumph Insurance                      Global Transportation Ins.
c/o Jason A Starks                         3 Park Central                         P.O. Box 5220
Bankruptcy & Collections Div MC 008        Suite 1700 12700 Park                  Farmington, NM 87499-5220
P. O. Box 12548                            Dallas, TX 75251
Austin, TX 78711-2548
AssuredPartners NL                         Darren L McCarty                       Chrome Truck Agency LLC
840 Crescent Center Drive                  Deputy Atty General for Civil Lit      12220 Eruzione Drive
Suite 300                                  Bankruptcy & Collections Div MC 008    Austin, TX 78748-3079
Franklin, TN 37067-4633                    P. O. Box 12548
                                           Austin, TX 78711-2548
Coldwater Insurance Agency Inc             McDonald Insurance                     Bob White Insurance
613 Austin Street                          90 Whitlock Place                      PO BOX 73009
Levelland, TX 79336-4615                   Marietta, GA 30064-3164                Houston, TX 77273-3009
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Westchester Fire Insurance Company      Ben Spurgin Insurance                Cline Wood Agency
c/o Wendy M. Simkulak                   2521 Cedar Springs                   4300 West 133rd St
Duane Morris LLP                        Dallas, TX 75201-1487                Leawood, KS 66209-3307
30 S. 17th Street
Philadelphia, PA 19103-4196
Hancock & Associates, Inc               Love Insurance Agency                First Insurance Funding
7237 Oak Ridge HWY                      373 Center Street                    450 Skokie Blvd Ste 1000
Knoxville, TN 37931-2614                Suite A                              Northbrook, IL 60062-7917
                                        Chardon, OH 44024-8952


White Wolf Insurance                    Bankers Standard Insurance Company   MassMutual Financial Group
2406 S Jupiter Rd STE 4                 c/o Wendy M. Simkulak                Policy Loans P O Box 75045
Garland, TX 75041-6024                  Duane Morris LLP                     Charlotte, NC 28275-0045
                                        30 S. 17th Street
                                        Philadelphia, PA 19103-4196
Thomson Reuters Inc                     Latino Truckers Insurance Serv       Marvin Johnson
P O Box 417175                          PO BOX 4267                          PO BOX 1849
Boston, MA 02241-7175                   Ontario, CA 91761-8967               Columbus, IN 47202-1849



American Southern Insurance Company     Peoples Insurance Agency             North Country Insurance
Austin & Sparks, PC                     PO BOX 119                           8800 SE Sunnyside Rd.
2974 Lookout Pl NE                      Waverly, IA 50677-0119               16621 N 91st St S
Ste 200                                                                      Scottsdale, AZ 85255
Atlanta, GA 30305-3272
John T. Sparks Sr.                      Cook Insurance Group                 The Buckner Company
Austin & Sparks, P.C.                   3333 Lee Parkway Suite 600           6550 S. Millrock Drive Ste 300
Suite 200                               Dallas, TX 75219-5117                Salt Lake City, UT 84121-2331
2974 Lookout Pl NE
Atlanta, GA 30305-3272
WGI/Stonebriar                          Insurepointe of Texas, Inc.          HG Companies & Assurance LLC
16935 W Bernardo Dr Suite 100           2909 Hillcroft Suite 600             508 West Interstate 2
San Diego, CA 92127-1635                Houston, TX 77057-5852               Pharr, TX 78577-6555



AON Risk Services Inc.                  Maple Leaf Insurance Agency Inc      ISU Stetson-Beemer Insurance
P O Box 3870                            6536 Kitsap Way                      PO BOX 7236
Little Rock, AR 72203-3870              Bremerton, WA 98312-1744             Reno, NV 89510-7236



Alliant Insurance Services, Inc.        Insurance Service Associates         Lindsay P. S. Kolba
5100 Thompson Terrace Ste A             1770 Indian Trail Rd Ste #130        Office of the U.S. Trustee
Colleyville, TX 76034-5868              Norcross, GA 30093-2600              Suite 362
                                                                             75 Ted Turner Drive, S.W
                                                                             Atlanta, GA 30303-3330
Courtney Hull                           Insurance Office of America          South Carolina Department
Office of the Texas Atty General        2121 Harden Blvd.                    Post Office Box 100105
P.O. Box 12548 - MC008                  Lakeland, FL 33803-5918              Columbia, SC 29202-3105
Austin, TX 78711-2548
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State Tax Commission                       Hub Lenhardt Agency                 National Online Registries, LLC
P.O. Box 23050                             1643 24th Street W, Ste 211         P O Box 419317
Jackson, MS 39225-3050                     Billings, MT 59102-2677             Kansas City, MO 64141-6317



RJS Insurance Services, Inc.               Commercial & Transportation Ins.    C.M. Brown & Associates, Inc.
27782 El Lazo                              P.O. Box 361901                     P.O.Box 384
Laguna Niguel, CA 92677-3914               Birmingham, AL 35236-1901           Perryville, MO 63775-0384



Truckline Insurance Grp, LLC               USI Transportation                  Hub International
T.D. Hawks                                 2021 Spring Road, Suite 100         PO BOX 17346
120 E. 9TH Street                          Oak Brook, IL 60523-1852            Salt Lake City, UT 84117-0346
Dubuque, IA 52001-7048


Georgia Department of Revenue              Holmes Murphy & Associates          Millenium Insurance Services
Taxpayer Services Division                 201 First Street SE                 8301 Broadway Suite 405
P.O. Box 740                               Suite 700                           San Antonio, TX 78209-2067
Atlanta, GA 30301-0740                     Cedar Rapids, IA 52401-1424


Brandon R Gossett                          IPFS                                M&O California Insurance Services, Inc
Clyde & Co. US LLP                         30 Montgomery Street                6055 E Washington Blvd
271 17th Street NW                         Suite 501                           Ste 1090
Suite 1720                                 Jersey City, NJ 07302-3821          Los Angeles, CA 90040-2400
Atlanta, GA 30363-6202
Great Lakes Insurance Assoc.               Jay W. Hurst                        Big Truck Agency
3205 Peach Street                          Office of the Attorney General      2517 Fairway Park Drive
Erie, PA 16508-2735                        8th Floor                           Suite 202
                                           300 West 15th Street                Houston, TX 77092-7615
                                           Austin, TX 78701-1649
Carrier Service Insurance                  Hatch Agency                        Trucking Specialist LLC
P.O. Box 69000C                            PO BOX 1861                         425 4th Street SC
Miami, FL 33269-0019                       Minnetoka, MN 55345-0861            Suite 802 Box 39
                                                                               Cedar Rapids, IA 52404


Bigham Kliewer Chapman & Watts             SWZ Insurance                       UPS
2100 Trimmier Road                         295 E Renfro #211                   P.O. Box 7247-0244
PO Box 996                                 Burleson, TX 76028-3953             Philadelphia, PA 19170-0001
Killeen, TX 76540-0996


Integrity Transportation Insurance Ag LL   Indemnity Insurance Company of NA   Volmert & Associates
14511 Falling Creek Dr.                    c/o Wendy M. Simkulak               3023 South University Drive
Houston, TX 77014-1279                     Duane Morris LLP                    #208
                                           30 S. 17th Street                   Fort Worth, TX 76109-5608
                                           Philadelphia, PA 19103-4196
Dickson Insurance                          Capitol Insurance Brokers           Ebix, Inc.
PO BOX 40308                               3820 W.Happy Valley Rd Ste 141      3906 Paysphere Circle
Mesa, AZ 85274-0308                        Glendale, AZ 85310-3292             Chicago, IL 60674-0001
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Elite 4 Truck                           Heritage Insurance Service       Regions Insurance
1801 South Excise Ave Ste 115           920 Lily Creek Rd Suite 201      PO BOX 3198
Ontario, CA 91761-8557                  Louisville, KY 40243-2815        Little Rock, AR 72203-3198



Propel Insurance                        Risk Placement Services          Jenna Crossley Sanford
2045 Cardinal Ave, Ste 300              33719 Treasury Center            14635 Creek Club Dr
Medford, OR 97504-9746                  Chicago, IL 60694-3700           Alpharetta, GA 30004-4372



Brantley Starr                          Leavitt Group                    FedEx
Deputy Atty General for Civil Lit       6050 Tacoma Mall Blvd #300       P.O. Box 660481
Bankruptcy & Collections Div MC 008     Tacoma, WA 98409-6828            Dallas, TX 75266-0481
P. O. Box 12548
Austin, TX 78711-2548
Hub Flynn                               Marshall Insurance Agency, Inc   Henry F. Sewell Jr.
1643 24th Street West Suite 21          1623 21st Ste Suite A            Law Offices of Henry F. Sewell, Jr,
Billings, MT 59102-2677                 Springfield, OR 97477-3417       Suite 555
                                                                         2964 Peachtree Rd, NW
                                                                         Atlanta, GA 30305-4909
Massey Insurance Services               Interline Risk Services, Inc.    KMB Insurance Consultants
16000 Apple Valley Rd Ste C-2           2100 Pooler Parkway              1150 Johnson Drive
Apple Valley, CA 92307-7815             Pooler, GA 31322-4264            Naperville, IL 60540-8244



1st Patriot Insurance Services, LLC     Mulligan Insurance Agency, Inc   Hub Coburn Insurance
2616 N. McColl Rd                       5114 Highway 33-34               PO BOX 1000
McAllen, TX 78501-5502                  Farmingdale, NJ 07727            Colchester, VT 05446-1000



Interstate Insurance Services Inc.      Sterling Risk Advisors           Nicky’s Insurance Agency, Inc
2601 N Del Rosa Ave Suite 114           2500 Cumberland Pkwy Ste 400     806 Del Oro Lane
San Bernardino, CA 92404-4413           Atlanta, GA 30339-3923           Pharr, TX 78577-2200



Saver Insurance Agency                  Capps Insurance Agency           Belken Insurance Associates
1415 Molson Lake Dr                     1610 Shadywood Lane              8626 Tesoro Drive #310
Leander, TX 78641-2183                  Mount Pleasant, TX 75455-5637    San Antonio, TX 78217-6217



Acrisure, LLC                           Hibbs & Associates               Multi Printing Solutions, Inc.
5664 Prairie Creek Drive, SE            2362 Three Bars Dr               8113 S. Lemont Rd
Caledonia, MI 49316-8081                Snellville, GA 30078-2643        Darien, IL 60561-1755



ProSight Specialty                      Elliott Hartman Agency           Biba Insurance Services Inc
12 Mount Kemble Ave                     611 Ansborough Ave.              17908 Murphy Parkway
Suite 300C                              Waterloo, IA 50701-5841          Lathrop, CA 95330-8771
Morristown, NJ 07960-5132
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Lexington Insurance Company               Stonemark, Inc.                    gotoPremium Finance
100 Summer Street, Boston                 8501 Wade Blvd., Ste. 620          Suite 400
Boston, MA 02110-2137                     Frisco, TX 75034-6268              6200 Canoga Ave.
                                                                             Woodland Hill, CA 91367-2459


Transport South Insurancy Agency, LLC     Hughston Insurance Agency, Inc.    Hub Kaufman
1255 Roberts Blvd Ste 102                 46 Cove Circle                     P.O. Box 17346
Kennesaw, GA 30144-7078                   Brownsville, TX 78521-2661         Salt Lake City, UT 84117-0346



James Miller Insurance Agency             Emery & James Ltd                  Kentucky Attorney in Fact
6333 E Mockingbird Lane                   300 E. Morris Ave.                 314 West Main Street
Suite 254A                                Hammond, LA 70403-4294             Frankfort, KY 40601-1808
Dallas, TX 75214-2343


Classic Plan Premium Finance              Texas Truck                        Truck Insurance Specialists
PO Box 5146                               2113 Greenbriar Dr                 One Brickyard Drive
Chino, CA 91708-5146                      Southlake, TX 76092-8312           Bloomington, IL 61701-7513



Kenneth Seiber                            American Inter-Fidelity Exchange   Adams Trucking Insurance
10010 Judy Road                           Thompson Hine LLP, c/o G. Nail     145 Stately Oaks Cir.
Lyles, TN 37098-1702                      3560 Lenox Road                    Brunswick, GA 31523-1434
                                          Two Alliance Ctr, Ste 1600
                                          Atlanta, GA 30326
American Millennium Insurance             Vertafore/CIS Solutions            HNI Risk Services
Company                                   27384 Network Place                16085 West Cleveland Ave
1011 Route 22, Suite 102                  Holtsville, NY 60673-1273          New Berlin, WI 53151
Bridgewater, NJ 08807-2950


Vigilant Insurance Company                Crossroads Insurance Services      Gus H. Small
c/o Wendy M. Simkulak                     9816 Gilespie St Suite 120         Small Herrin, LLP
Duane Morris LLP                          Las Vegas, NV 89183-7603           Building Two, Suite 200
30 S. 17th Street                                                            2727 Paces Ferry Road
Philadelphia, PA 19103-4196                                                  Atlanta, GA 30339-4053
Insurance Service Group                   Commercial Carrier Insurance       Hanuschak Agency
P.O. Box 4000                             44 Merrimon Avenue                 P.O. Box 7727
Clinton, TN 37717-4000                    Ashville, NC 28801-2352            Cumberland, RI 02864-0898



Insurance Risks Managers of MO            Kinloch Partners, Inc.             RIS Insurance Services
425 N New Ballas Rd Ste #175              300 Executive Drive Ste 310        901 24th Street
St Louis, MO 63141-6853                   West Orange, NJ 07052-3323         Anacortes, WA 98221-2809



Malone Insurance Services                 ARM Insurance Agency               Licona Insurance Group
1137 Bordeau Court                        4511 Highway 6 N Ste A             369 Shadow Mountain Drive
Dunwoody, GA 30338-3204                   Houston, TX 77084-3484             El Paso, TX 79912-4053
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Pacific Indemnity Company               Maulding & Associates                 Stephens Insurance LLC
c/o Wendy M. Simkulak                   P.O. Box 320549                       140 Township Avenue Ste 202
Duane Morris LLP                        Jackson, MS 39232-0549                Ridgeland, MS 39157-2094
30 S. 17th Street
Philadelphia, PA 19103-4196
US Premium Finance,                     Roberts Blvd, LLC                     Mid South Insurance Agency Inc
A Div of Ameris Bank                    P.O. Box 360566                       P.O. Box 457
Simpson, Uchitel & Wilson LLP           Birmingham, AL 35236-0566             Corning, AR 72422-0457
P.O. Box 550105
Atlanta, GA 30355-2605
USA Specialty Insurance LLC             Trinity Insurance Services LLC        RRL Insurance Agecny
5246 SW 8th St STE 102-A                PO Box 439                            35000 Kaiser Court Suite 300
Miami, FL 33134-2375                    Clarkson, KY 42726                    Willoughby, OH 44094-3384



David Baker Insurance                   Eagle National Insurance - USA (HQ)   Umana Trucking, LLC
950 S Fry Road                          80 SW 8th Street, Suite 2000          2518 Glen Meadows Dr
Katy, TX 77450-3061                     Brickell B                            Mesquite, TX 75150-4992
                                        Miami, FL 33130-3038


Lipscomb & Pitts                        Truckers Insurance                    MJ Insurance
2670 Union Avenue                       400 West Expressway                   PO Box 50435
Memphis, TN 38112-4434                  San Juan, TX 78589                    Indianapolis, IN 46250-0418



Jones Truck Insurance Agency            Kiely, Hines & Associates Insurance   Commercial Insurance Associates, LLC
P.O. Box 236                            6100 Dutchmans Lane 10th Fl           103 Powell Court Suite 100
Waco, TX 76703-0236                     Louisville, KY 40205-3284             Brentwood, TN 37027-5050



Illinois National Insurance Company     Island Financial Ins Assoc Inc        Chubb Indemnity Insurance Company
80 Pine Street,13th Floor               2815 East Main Avenue                 c/o Wendy M. Simkulak
New York, NY 10005-1734                 Puyallup, WA 98372-3167               Duane Morris LLP
                                                                              30 S. 17th Street
                                                                              Philadelphia, PA 19103-4196
Westchester Fire Insurance Company      Hadley & Lyden, Inc.                  Prime Insurance Company
c/o Duane Morris LLP                    P.O. Box 700                          8722 South Harrison St
ATTN: Wendy M. Simkulak                 Winter Park, FL 32790-0700            Sandy, UT 84070-1420
30 S. 17th Street
Philadelphia, PA 19103-4196
State Comptroller - Texas
PO Box 149348
Austin, TX 78714-9348
